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                                                               North Carolina
                                                               May  21, 2020
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                                                          Clerk, US District Court
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